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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-62364-CIV-SMITH

 JORGE ARTURO SARABIA BAEZ,

        Petitioner,

 v.

 LILIA MARISOL CASTILLO ROBLERO,

       Respondent.
 ____________________________________/

                                             ORDER

        This cause is before the Court on Petitioner’s Emergency Motion to Enforce Settlement

 Agreement [DE 33], the Court’s March 25, 2024 Order to Show Cause [DE 35] and

 Respondent’s Response to Order to Show Cause [DE 38]. For the reasons stated in open court, it

 is

        ORDERED that:

        1.   Petitioner’s Emergency Motion to Enforce Settlement Agreement [DE 33] is

 GRANTED in part.

        2. Petitioner shall be entitled to travel from the United States to Mexico with A.A.S.C.,

 departing on March 26, 2024 and returning on March 30, 2024 during daytime hours.

 Respondent shall forthwith provide an address for Petitioner to pick up the child.

        2. Respondent shall bear the costs associated with A.A.S.C.’s March 2024 travel to

 Mexico. However, moving forward, each party shall be responsible for any damages associated

 with their breach of the Settlement Agreement [DE 31-1].

        3. Respondent shall immediately inform Petitioner upon receipt of X.A.S.C.’s permanent

 resident card.

        4. Petitioner shall be entitled to an additional week of visitation with X.A.S.C. during the
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 summer months of 2024.

       DONE AND ORDERED in Fort Lauderdale, Florida, this 26th day of March, 2024.




 cc:   counsel of record




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